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15
16
17                        UNITED STATES DISTRICT COURT
18                      CENTRAL DISTRICT OF CALIFORNIA
19
20    JANE DOE on behalf of herself and all Case No. 8:21-cv-00768
      others similarly situated,
21                                          CLASS ACTION
22                               Plaintiff,
      v.                                    COMPLAINT FOR VIOLATION
23                                          OF FEDERAL SEX
24    REDDIT, INC.,                         TRAFFICKING LAWS
25                             Defendant.         JURY TRIAL DEMANDED
26
27
28
                                                  COMPLAINT FOR VIOLATION OF FEDERAL SEX
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 1                              NATURE OF THE ACTION
 2         1.       Plaintiff brings this proposed class action for damages and injunctive
 3   relief on behalf of herself and all persons who were under the age of 18 when they
 4   appeared in a video or image that has been uploaded or otherwise made available for
 5   viewing on any website owned or operated by Defendant in the last ten years.
 6         2.       As alleged below, over the course of the last decade, Reddit has
 7   knowingly benefited financially from videos and images posted to its website(s)
 8   featuring victims who had not yet reached the age of majority. Rather than address
 9   this horrifying and pervasive trend, for years, Reddit has taken virtually no action.
10         3.       Prior to 2011, Reddit did not even have a policy banning child
11   pornography. It was only after Reddit came under fire for subreddits like /r/jailbait—
12   a prominent subreddit that included minors engaged in sexual acts—that it
13   begrudgingly instituted a policy that child pornography was banned from its site.1
14         4.       However, despite Reddit’s ability to enforce this policy and
15   awareness of the continued prevalence of child pornography on its websites, Reddit
16   continues to serve as a safe haven for such content.          Indeed, although child
17   pornography is inconsistent with the “policy” announced by Reddit, there are a
18   troubling number of instances of child pornography featured on the site. Reddit
19   claims it is combating child pornography by banning certain subreddits, but only after
20   they gain enough popularity to garner media attention.
21         5.       What’s more, Reddit has taken no action to actually prevent users
22   from uploading child pornography in the first place. Posting material on Reddit
23   requires no age verification of any kind. A user simply chooses a subreddit to which
24   they intend to post, writes the text of the post, uploads an image and/or video and
25
26   1
      https://www.reddit.com/r/blog/comments/pmj7f/a_necessary_change_in_policy/;
27   https://www.reddit.com/r/TheoryOfReddit/comments/58zaho/the_accuracy_of_voat
     _regarding_reddit_srs_admins/d95aof t/
28
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 1   clicks “post.” The user is not even required to click a checkbox confirming that the
 2   post complies with Reddit’s policies. Rather, there is a small note on the site that
 3   says: “Please be mindful of reddit’s content policy and practice good reddiquette.”
 4         6.       The reason for Reddit’s inaction is simple: greed. Reddit has chosen
 5   to prioritize its profits over the safety and welfare of children across the globe. As
 6   regulating child pornography means dampening traffic to its websites, which is what
 7   drives Reddit’s profits.
 8         7.       Reddit’s decision is not only upsetting, it is illegal. As the Trafficking
 9   Victims Protection Reauthorization Act (TVPRA) makes clear, it is unlawful for any
10   person or entity to knowingly (whether because it knew or should have known)
11   benefit financially from sex trafficking, which includes any instance where a person
12   under the age of 18 is caused to engage in a commercial sex act. That is precisely
13   what Reddit has done here—on an incredible scale.
14                                      THE PARTIES
15         8.       Plaintiff Jane Doe No. 1 is an individual who is now the age of
16   majority under U.S. and California law. She is a United States citizen who resided
17   within this judicial district at all relevant times alleged herein. She is also a victim
18   of child sex trafficking and child pornography, as alleged herein.
19         9.       Plaintiff Jane Doe No. 1 requests that this Court permit her to proceed
20   under a pseudonym. If required by the Court, she will seek permission to proceed
21   under this pseudonym. Plaintiff’s anonymity is necessary to preserve privacy in a
22   matter of sensitive and highly personal nature given that the allegations detailed
23   herein relate to Plaintiff’s experience as a victim of child sex trafficking and child
24   pornography. Plaintiff’s sensitive and personal experiences were not the result of
25   any voluntary undertaking on her part, and neither the public, nor the Defendant, will
26   be prejudiced by Plaintiff’s identity remaining private.
27         10.      Defendant Reddit, Inc. is a corporation organized and existing under
28   the laws of the state of Delaware, with an established place of business located at
                                              3
                                                    COMPLAINT FOR VIOLATION OF FEDERAL SEX
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 1   1455 Market Street, Suite 1600, San Francisco, CA 94103. Upon information and
 2   belief, Reddit can be served with process by serving its registered agent for service
 3   of process in the State of California, Corporation Service Company, d/b/a CSC-
 4   Lawyers Incorporating Service, at 2710 Gateway Oaks Drive, Suite 150N,
 5   Sacramento, CA 95883.
 6                             JURISDICTION AND VENUE
 7         11.      This Court has original subject matter jurisdiction pursuant to 28
 8   U.S.C. § 1331.
 9         12.      Some of the claims asserted herein arise under 18 U.S.C. § 1595(a).
10   Pursuant to Section 1595(a), “an individual who is a victim of a violation of this
11   chapter” may bring a civil action in “an appropriate district court of the United States
12   and may recover damages and reasonable attorneys fees.”
13         13.      The court may properly exercise personal jurisdiction over Reddit.
14   Reddit maintains minimum contacts with this District, such that maintenance of this
15   lawsuit does not offend traditional notions of fair play and substantial justice.
16         14.      Reddit has offices in this State and this District, conducting business
17   directly related to the websites at issue in this case. Specifically, Reddit is a
18   corporation organized and existing under the laws of the state of Delaware, with an
19   established place of business located at 6022 Wilshire Blvd., Los Angeles, CA
20   90036.
21         15.      Jurisdiction is further appropriate under 18 U.S.C. §1596, which
22   provides for jurisdiction over any offender, in addition to any “domestic or extra-
23   territorial jurisdiction otherwise provided by law,” where the offender is “present in
24   the United States, irrespective of the nationality of the alleged offender.”
25         16.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because
26   a substantial part of the events or omissions giving rise to the claims asserted in this
27   action occurred in the judicial district where this action was brought. Venue is also
28
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 1   appropriate in this district because defendant Reddit maintains a place of business in
 2   this district.
 3   I.     SEX TRAFFICKING AND CHILD PORNOGRAPHY ON THE
 4          INTERNET
 5          17.       Sex trafficking and the proliferation of child pornography are rapidly
 6   growing problems in the United States. Human trafficking is a 150-billion-dollar
 7   industry. Out of an estimated 40.3 million victims, 25% are children.2
 8          18.       The rise of the Internet and e-commerce has facilitated the rapid
 9   growth of the market for child pornography online.          The Internet and digital
10   technologies have created new models for sexual exploitation and trafficking, which
11   are hidden and protected by cryptocurrency, laundered money, foreign Internet
12   servers and anonymous messaging applications. The Child Rescue Coalition alone
13   has identified 71 million unique IP addresses worldwide sharing and downloading
14   sexually explicit images and videos of children.3
15          19.       The Internet is the number one platform for customers to buy and sell
16   sex with children in the United States. Many sex buyers use the Internet to identify
17   and connect with sellers and victims. Traffickers, in turn, use online networks, social
18   media, websites, and dating tools to disguise their identities while identifying
19   potential victims, which reduces traffickers’ chances of being caught by law
20   enforcement.
21          20.       Americans are some of the top consumers and producers of child
22   pornography. According to the U.S. Department of Justice, “Federal law defines
23   child pornography as any visual depiction of sexually explicit conduct involving a
24   minor (persons less than 18 years old).”
25
26
27   2
       https://coil.com/p/RileyQ/Child-Trafficking-What-You-Need-To-
     Know/mj4WEwhW7
28   3
       Id.
                                               5
                                                    COMPLAINT FOR VIOLATION OF FEDERAL SEX
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 1         21.        According to the National Center for Missing & Exploited Children,
 2   their cyber tip line has received more than 50 million reports of suspected child
 3   exploitation from 1998 through 2019, with 18.4 million reports in 2018 alone. The
 4   vast majority of these reports contain child sexual abuse material, most of which is
 5   on the Internet. North America now hosts 37% of child sexual abuse content and
 6   children under the age of 10 now account for 22% of online child porn consumption,
 7   while 10-14-year-olds make up 36%.4
 8         22.        The link between sexual exploitation and pornographic videos is
 9   undeniable. According to an article by Melissa Farley, 49 percent of sexually
10   exploited women say pornographic videos of them were made while they were being
11   sold for sex.5
12   II.   THE TVPA AND TVPRA
13         23.        In response to the growing problem of sex trafficking, in 2000,
14   Congress passed the Trafficking Victims Protection Act (“TVPA”), which laid the
15   groundwork for the federal response to human trafficking.
16         24.        In 2003, Congress reauthorized the TVPA and passed the Trafficking
17   Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-193, § 4(a)(4)(A),
18   117 Stat. 2875, 2878 (2003) (“TVPRA”). Under the TVPRA, trafficking victims can
19   sue their traffickers in federal court.
20         25.        In 2008, Congress amended the TVPRA to make it easier for victims
21   of trafficking violations to bring civil suits. First, the civil remedy was expanded to
22   include enterprise liability.    It was likewise expanded to include anyone who
23   “knowingly benefits, financially or by receiving anything of value from participation
24
25   4
       https://www.prnewswire.com/news-releases/enough-is-enough-calls-on-doj-to-
     investigate-mindgeek-for-a-trifecta-of-potential-us-law-violations-child-abuse-
26   material-trafficking-videos-and-obscene-content-301196447.html
     5
       “Renting an Organ for Ten Minutes: What Tricks Tell Us about Prostitution,
27   Pornography, and Trafficking,” in Pornography: Driving the Demand in
     International Sex Trafficking, ed. David E. Guinn and Julie DiCaro (Bloomington,
28   IN: Xlibris, 2007), 145.
                                               6
                                                   COMPLAINT FOR VIOLATION OF FEDERAL SEX
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 1   in a venture which that person knew or should have known has engaged
 2   in an act in violation of this chapter.” 18 U.S.C. § 1595(a).        Second, Congress
 3   expanded the statute’s reach to include extraterritorial jurisdiction for certain
 4   trafficking offenses. Id. The statute of limitations is ten years, or ten years after the
 5   victim turned 18 if the victim was a minor. See id. § 1595(c).
 6         26.       Commercialization of sex acts involving minors is a violation of the
 7   TVPRA. Under the TVPRA,
 8         (a) Whoever knowingly—
 9         (1) in or affecting interstate or foreign commerce, or within the special
10         maritime and territorial jurisdiction of the United States, recruits, entices,
11         harbors, transports, provides, obtains, advertises, maintains, patronizes, or
12         solicits by any means a person; or
13         (2) benefits, financially or by receiving anything of value, from participation
14         in a venture which has engaged in an act described in violation of paragraph
15         (1), knowing, or, except where the act constituting the violation of paragraph
16         (1) is advertising, in reckless disregard of the fact, that means of force, threats
17         of force, fraud, coercion described in subsection (e)(2), or any combination of
18         such means will be used to cause the person to engage in a commercial sex
19         act, or that the person has not attained the age of 18 years and will be caused
20         to engage in a commercial sex act, shall be punished as provided in
21         subsection (b).
22    18 U.S.C. §1591(a). Under §1595(a), not only perpetrators who act “knowingly”
23    under §1591, but also “whoever knowingly benefits, financially or by receiving
24    anything of value from participation in a venture which that person knew or should
25    have known has engaged in an act in violation of this chapter” is civilly liable.
26         27.       Reddit knowingly benefits from lax enforcement of its content
27   polices, including for child pornography. By allowing sensational and illegal content
28   to be posted on Reddit, it receives substantial advertising revenues, which is why
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                                                    COMPLAINT FOR VIOLATION OF FEDERAL SEX
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 1   Reddit encourages moderators to leave as much content on the site as possible. By
 2   failing to enforce its policies, Reddit facilitates the conduct of sex traffickers,
 3   including those sex traffickers who deal specifically with children and child
 4   pornography.
 5          28.      In 2018, in response to platforms like Reddit knowingly allowing
 6   human trafficking to occur and profiting from it, Congress passed the Allow States
 7   and Victims to Fight Online Sex Trafficking Act/Stop Enabling Sex Traffickers Act
 8   (FOSTA/SESTA). Reddit previously had been shielded from liability for certain
 9   offenses under Section 230 of the Communications Decency Act. The new statute,
10   however, makes it clear that platforms may be held liable for, among other things,
11   knowingly assisting, facilitating, or supporting sex trafficking, and amends the
12   Communications Decency Act’s Section 230 safe harbors to authorize enforcement
13   of federal or state sex trafficking laws.
14   III.   REDDIT’S BUSINESS MODEL
15          29.      Reddit is an enormously popular website. According to the New
16   Yorker, it is the fourth most popular website in the United States.6 And its popularity
17   only continues to grow. According to the Company’s 2020’s year in review, Reddit
18   has more than 52 million daily active users, who have contributed to the 303.4
19   million posts, 2 billion comments, and 49.2 billion upvotes the Company recorded
20   just last year alone.7
21          30.      Reddit bills itself as “the front page of the internet” and it is a social
22   platform where users submit posts that other users “upvote” or “downvote” based on
23   if they like it. If a post gets a lot of upvotes, it moves up in the Reddit rankings so
24   that more people can see it.
25
26
27   6
       https://www.newyorker.com/magazine/2018/03/19/reddit-and-the-struggle-to-
     detoxify-the-internet
28   7
       https://redditblog.com/2020/12/08/reddits-2020-year-in-review/
                                               8
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 1           31.       As just one indication of the active role Reddit takes in shaping the
 2   narrative presented on its websites, Reddit awards users “karma”, which “reflects
 3   how much a user has contributed to the Reddit community by an approximate
 4   indication of the total votes a user has earned on their submissions (‘post karma’) and
 5   comments (‘comment karma’).”8
 6           32.       Reddit is a source for what’s new and popular on the Internet. Reddit
 7   is made up of individual communities called subreddits, which have subscribers.
 8   Each subreddit has its own page, subject matter, users, and moderators. Users post
 9   stories, links, and media to these subreddits, and other users vote and comment on
10   the posts. Through voting, posts rise to the top of community pages and, by
11   extension, the public home page of the site.9
12           33.       When users visit reddit.com, they can search for subreddits in a search
13   box provided by Reddit, which then applies a search algorithm that is defined by
14   Reddit.
15           34.       Reddit also allows users to create subreddits. Every subreddit is
16   managed by one or more lay “moderators” who can dictate what types of content are
17   allowed in the subreddit. Reddit as a whole is governed by “administrators”, Reddit
18   employees who have the power to strip moderators of their privileges and ban
19   subreddits from the site. The primary role of Reddit administrators is to identify and
20   remove content that violates Reddit’s Content Policy, including in private messages
21   and subreddits.
22           35.       Reddit also has an internal Trust & Safety team that allegedly
23   enforces its Content Policy against malicious users and takes down content violations
24   that may have urgent legal or safety implications.
25           36.       Reddit also has an Anti-Evil internal security team, which allegedly
26   consists of back-end engineers who create automated software that flags content that
27
     8
         https://reddit.zendesk.com/hc/en-us/articles/204511829-What-is-karma-
28   9
         https://reddit.zendesk.com/hc/en-us/articles/204511479-What-is-Reddit-
                                                  9
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  1   violates Reddit’s policies and sends that content to the Trust & Safety specialists,
  2   who decide on subsequent moderation steps.
  3         37.        Reddit also claims to have developed two automated software tools
  4   on its platform to moderate content: AutoMod and Crowd Control.
  5         38.        Reddit generates revenue through advertising and its ad-free premium
  6   membership plan. In 2019, Reddit generated more than $100 million in total ad
  7   revenue, to say nothing of the revenue from its premium membership plan.10
  8         A.       Reddit’s   Business    Embraces       User-Generated       Uploads     of
  9                  Commercial Sex Acts
 10         39.        Reddit depends heavily on its community of user-creators. In order
 11   to upload a video or image to Reddit's site, all a person needs to do is click “post.”
 12   The ease with which users can post makes it easy for sex traffickers to post images
 13   and videos of underage victims and to solicit victims to participate in their sex
 14   trafficking ventures. It also makes it easy for traffickers to share illegal content with
 15   one another.
 16         40.        The entire process takes less than one minute. A user can post any
 17   video or image of any person doing anything without any consequences. The user
 18   does not have to demonstrate that he or she owns the copyrights in the content, that
 19   those depicted in the content have consented, or that those depicted in the content are
 20   of majority age.
 21         41.        Reddit also has no robust way of verifying user age. User age is
 22   entirely self-reported and can be easily falsified. Reddit does not even ask for the
 23   user’s date of birth during sign up even though it of course easily could.
 24         42.        Reddit has access to and the opportunity to view the videos and
 25   images posted on its site. In a post regarding updates on Reddit’s site-wide rules
 26
      10
        https://www.investopedia.com/articles/investing/093015/how-reddit-makes-
 27   money.asp#:~:text=
      The%20company%20generates%20revenue%20through,users%20to%20share%20
 28   media%20content.
                                              10
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  1   regarding involuntary pornography and the sexualization of minors, Reddit
  2   moderator “landoflobsters” wrote: “Our view of subreddits is comprehensive and
  3   involves analysis of some information that is not available to the public. We do not
  4   take banning communities lightly and only do so in cases where we are confident that
  5   it is essential to improving the safety of users.”11
  6         43.       And yet Reddit famously refuses to take down content that violates
  7   its policies largely because Reddit receives advertising revenue by maintaining
  8   controversial yet popular content on the subreddits. Plaintiff’s own experience
  9   highlights this problem. Despite her requests, Reddit would not immediately take
 10   down the illegal videos and images depicting Plaintiff in a sex act as a minor. This
 11   is despite Plaintiff’s outreaches to individual monitors informing them of the fact that
 12   there was child pornography on their subreddits. There are many other instances of
 13   users complaining on Reddit that when they reached out to administrators or
 14   moderators complaining of child pornography, nothing was done. In 2012, a user
 15   complained, “I emailed an admin about a preteengirls thread EXPLICITLY showing
 16   photos of child porn.” He responded “thanks’ and “Nothing was done, NOTHING,
 17   which is what I expected.”12
 18         44.       In the comments on the thread relating to Reddit’s site-wide rules
 19   regarding sexualization of minors, many users commented on a number of subreddits
 20   that featured child pornography, including one subreddit that featured a fourteen-
 21   year-old and existed for almost four years. A moderator, elis8, commented on how
 22   the subreddit r/starlets “was a source of all my troubles for years and it’s still up even
 23   though it’s literally created to sexualize minors.”13
 24
 25   11
         https://www.reddit.com/r/announcements/comments/7vxzrb/update_on_sitewide
      _rules_ regarding_involuntary/
 26   12
         https://www.reddit.com/r/technology/comments/pmbyc/somethingawfulcom_star
      ts_campaign _to_label_reddit/c3qj2ww/
 27   13
         The post was made three years ago, but the r/starlets subreddit has subsequently
      been banned.
 28
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  1         45.       Another user explained that the subreddit “r/ratemeteen is basically a
  2   virtual pedophile ring.”14
  3         46.       It was not until 2011 that Reddit even made a rule on its site that
  4   sexual content featuring minors was not allowed. This was in response to a Gawker
  5   article that found troves of child porn in forums like the subreddit known as /r/jailbait.
  6         47.       In 2011, Reddit user Michael Brutsch (operating under the handle
  7   uu/Violentacrez) “set up more than a hundred sub-forums (called sub-reddits) where
  8   users could share links and images of underage girls, rape fantasy and upskirt photos.
  9   Brutsch shut down his Violentacrez username after Gawker reporter Adrian Chen
 10   told him he knew his identity. Following the Gawker article, Reddit banned a series
 11   of forums called out in that article that explicitly sexualized underage teens in their
 12   names or descriptions. However, it did nothing to prevent similar content from
 13   appearing on other existing or newly created forums. Put differently, it has done
 14   nothing to actually eliminate, let alone prevent the future upload of, content featuring
 15   underage teens despite knowledge and awareness that its site was being used as a safe
 16   haven by child pornography traffickers.15
 17         48.       The same is true of content featuring even younger children. For
 18   example, in 2014, Reddit came under fire when underage nude photos of Olympic
 19   gymnast McKayla Maroney and MTV star Liz Lee were featured on the subreddit
 20   /r/thefappening.16
 21         49.       As The Washington Post explained, while Reddit removed the photos
 22   of Maroney and Lee, “two public figures with publicists and lawyers and a legion of
 23   fans on alert for abuse,” it “doesn’t do much to help other young women whose
 24   photos might end up questionably tasteful forums like /r/randomsexiness or
 25
      14
         The post was made three years ago, but the r/starlets subreddit has subsequently
 26   been banned.
      15
          https://www.washingtonpost.com/news/the-intersect/wp/2014/09/03/does-reddit-
 27   still-have-a-child-porn-problem/
      16
         https://www.washingtonpost.com/news/the-intersect/wp/2014/09/03/does-reddit-
 28   still-have-a-child-porn-problem/
                                              12
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  1   /r/youngporn, where youthful photos are frequent, provenances are unknown and
  2   subjects’ ages are rarely disclosed. Indeed, even though The Washington Post
  3   expressly called out the aforementioned subreddits as featuring underage women,
  4   they are still featured on Reddit’s site, along with /r/BestofYoungNSFW,
  5   /r/Dirty18girls, /r/collegesluts, /r/TooCuteForPorn, /r/barelylegalteens, /r/18nsfw,
  6   /r/xsmallgirls,         /r/YoungNiceGirls,         /r/teensdirtie,      /r/TeenBeauties,
  7   /r/YoungExoticHoes, /r/YoungGirlsGoneWild, and /r/teensrdirty, all of which are
  8   identified on frontpagemetrics.com as some of the most popular subreddits on Reddit.
  9         50.          Even when a troubling subreddit gains enough publicity that Reddit
 10   has to remove it, it is only a matter of time before new subreddits pop up in its place.
 11   For example, after Reddit removed the /r/jailbait subreddit, /r/preteen_girls was
 12   formed, which featured images of 11 year old girls in bikinis with sexually explicit
 13   captions.17
 14         B.      Reddit Knowingly Benefits From Child Sex Trafficking
 15                 1.       Reddit Has Earned Enormous Profits
 16         51.          Reddit generates substantial advertising revenue. Reddit has more
 17   than 1.34 trillion visitors each month.18 The number of visitors allows Reddit to make
 18   lots of money in advertising. In 2019, Reddit earned more than $100 million in
 19   revenue from advertising alone, and that number has continued to increase.19
 20         52.          There’s no question that financial considerations drive the content on
 21   Reddit’s websites. Reddit collects money from ads on subreddits. The more
 22   controversial the subreddit, the more buzz it generates from users. Those subreddits
 23   with more user engagement drive advertising revenue and earn Reddit money.
 24
      17
         https://culturedigitally.org/2012/03/limits-of-freedom-of-speech-reddits-child-
 25   pornography-problem/
      18
         https://www.techradar.com/news/porn-sites-attract-more-visitors-than-netflix-
 26   and-amazon-youll-never-guess-how-many
      19
         https://www.investopedia.com/articles/investing/093015/how-reddit-makes-
 27   money.asp#:~:text=
      The%20company%20generates%20revenue%20through,users%20to%20share%20
 28   media%20content.
                                                  13
                                                       COMPLAINT FOR VIOLATION OF FEDERAL SEX
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  1   Reddit measures user engagement in a number of ways, including measuring the
  2   number of upvotes and downvotes the posts receive, as well as the number of
  3   comments generated by posts. In fact, far from being a passive observer, Reddit
  4   awards its users “karma”, which “reflects how much a user has contributed to the
  5   Reddit community by an approximate indication of the total votes a user has earned
  6   on their submissions (‘post karma’) and comments (‘comment karma’).”20 Having a
  7   good karma means you are more likely to be featured by Reddit on its ever-evolving
  8   homepage, which features those posts that rise to the top of community pages and,
  9   by extension, the public home page of the site.21
 10         53.      Reddit also collects subscriptions from premium users of its websites.
 11   Prices range from $1.99 to $99.99. For $6.99/month, users can sign up for Reddit
 12   Premium which offers an ad-free experience, 700 coins each month, and access to
 13   the exclusive r/lounge community.22
 14         54.      Reddit also has a currency (Coins) that users can use to award users
 15   (also known as Gilding) for submissions and comments—regardless of the subject
 16   matter. There are many ways in which users take advantage of these coins, which
 17   include giving them to users to participate in their campaigns, giving them to
 18   moderators of Subreddits users want to participate in in hopes they will be more
 19   friendly with their moderation, and giving them through a contest, to drive more
 20   exposure to a users’ Reddit profile.23
 21
 22
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 24   20
        https://reddit.zendesk.com/hc/en-us/articles/204511829-What-is-karma-
      21
        https://reddit.zendesk.com/hc/en-us/articles/204511479-What-is-Reddit-
 25   22
        https://protectyoungeyes.com/apps/reddit-parental-controls/
      23
        https://www.inc.com/brent-csutoras/how-you-can-use-reddits-new-premium-
 26   accounts-to-better-connect-with-your-
      audience.html#:~:text=Reddit%20Coins%20are%20a%20brand,submissions%20an
 27   d%20comments%20they%20make.&text=In%20addition%20to%20showing%20a,
      and%20costs%20500%20Reddit%20Coins.
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  1         55.         Reddit also uses personalization preferences to further monetize users
  2   by personalizing content and advertisements based on Reddit users’ interaction with
  3   the site, information from third party sites that integrate Reddit, and advertisers.24
  4                2.       Reddit Facilitates Child Sex Trafficking by Encouraging
  5                         Users to Target Underage Content
  6         56.         Reddit disclosed for the first time in 2019 that it had hit the $100
  7   million-dollar mark in advertising revenue, and has 52 million daily active users, an
  8   increase of 44% from 2018.25
  9         57.         As one of the top ten most popular websites on the Internet, Reddit is
 10   a popular channel for advertising purposes. If a post goes “viral,” advertisers (and
 11   Reddit) have the potential to earn a lot of money.26
 12         58.         Reddit has an entire program, Reddit Ads, and promisers advertisers
 13   that it will “connect your brand to our 52 million daily active users.”27 One of the
 14   ways Reddit recommends for its advertisers to have the most success with their
 15   advertising campaigns is to target specific interest groups, specific sub-groups, and
 16   specific sub-reddits.
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 25   24
         https://protectyoungeyes.com/apps/reddit-parental-controls/
      25
         https://adage.com/article/digital/reddit-plots-path-1b-ad-sales-first-it-needs-
 26   convince-
      brands/2298626#:~:text=Reddit%20disclosed%20for%20the%20first,of%2044%25
 27   %20since%20last%20year.
      26
         https://www.shopify.com/blog/119995717-findlay-hats-viral-reddit-post
 28   27
         https://www.shopify.com/blog/119995717-findlay-hats-viral-reddit-post
                                                  15
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  1            59.      The below screenshot from Reddit’s advertising page shows Reddit
  2   directing potential advertisers to find subreddits (“example communities”) that will
  3   allow the advertiser to “display your ad to the right audience based on a user’s
  4   browsing behavior on Reddit.”28
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 19            60.      Reddit’s minimum spend for an advertising campaign is $5, and it
 20   costs $0.75 per thousand-page views, which means that advertisers want to target
 21   subreddits that get enough page views to be eligible for advertising. There are tools
 22   like RedditList and FrontPageMetrics that help advertisers identify the subreddits
 23   that are most likely to generate views, making their advertising campaigns
 24   worthwhile.
 25            61.      A number of the subreddits highlighted on frontpagemetrics.com are
 26   clearly targeting users interested in child pornography. For example, among Reddit’s
 27
 28   28
           https://advertising.reddithelp.com/en/categories/targeting/targeting-interest
                                                   16
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  1   most popular subreddits are:             r/LegalTeens, r/Dirty18girls, r/collegesluts,
  2   r/TooCuteForPorn,       r/Female18,    r/barelylegalteens,   r/Gonewild18,     r/18nsfw,
  3   r/xsmallyounggirls, r/YoungNiceGirls, r/teensdirtie, r/youngporn, r/TeenBeauties,
  4   r/YoungExoticHoes, r/YoungGirlsGoneWild, r/18yoGirls, r/teensrdirty.
  5         62.         The more views Reddit gets, the more advertiser interest it has, and
  6   the more revenue it generates. By encouraging as much content to remain on Reddit
  7   as possible, turning a blind eye to subreddits that are obviously geared toward child
  8   pornography, and failing to train moderators to limit child pornography on Reddit,
  9   Reddit continues to focus on its number one goal: profit.
 10                3.       Reddit’s Knowingly Fails to Moderate Content
 11         63.         In an effort to attract attention and revenues, users post content that
 12   generates traffic. Often this content is child pornography.
 13         64.         Reddit knowingly participates in and capitalizes on this user interest.
 14         65.         Besides the entirely inadequate verification process described above,
 15   Reddit’s only real “protection” that it choose to implement against the posting of
 16   underage content and other illegal content is that it hires administrators and trains
 17   volunteer moderators.
 18         66.         The Washington Post has described how Reddit has a “dense
 19   hierarchy of volunteers” and employs a “handful” of “community managers” to
 20   oversee them.29
 21         67.         In August 2020, Reddit started beta testing a new program to train
 22   and certify moderators. It has councils of moderators it consults with and offers
 23   resources to guide the volunteers. For example, volunteer moderators can request
 24   help from teams of experienced moderators.30
 25
 26
      29
          https://www.washingtonpost.com/news/the-intersect/wp/2014/09/03/does-reddit-
 27   still-have-a-child-porn-problem/
      30
           https://www.washingtonpost.com/technology/2020/08/25/volunteer-moderators-
 28   2020/
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  1            68.     Although Reddit claims the goal of content moderation is to locate
  2   and prevent the streaming of child pornography and other illegal material, the truth
  3   is that Reddit’s focus is maximizing revenue. Reddit is known for its laissez-faire
  4   approach to content moderation, which means that Reddit tries to ban as little content
  5   as possible.
  6            69.     Reddit claims to have “dedicated teams that enforce [its] site-wide
  7   policies, proactively go after bad actors on the site, and create engineering solutions
  8   to detect and prevent them in the future.” It purports to “continue to strengthen the
  9   measures [it] has in place to prevent or limit the impact of policy-breaking activity,
 10   which combine technology tools with human review and moderation.”31 Despite
 11   Reddit’s opportunities to monitor the content on subreddits, Reddit has repeatedly
 12   failed to take action.
 13            70.     Reddit claims on its website that it “prohibits any sexual or suggestive
 14   content involving minors or someone who appears to be a minor.” Reddit does not
 15   make a commitment to users that it will immediately remove content sexual or
 16   suggestive content involving minors and only provides users with an opportunity to
 17   “report” content that sexualizes minors. The reporting tool merely allows a user to
 18   link to a post and check a box that says “it’s sexual or suggestive content involving
 19   minors.” There is no opportunity for a user to explain to Reddit why the content is
 20   child pornography, and the user has to rely on a Reddit administrator or moderator to
 21   decide whether to remove the content. Because Reddit’s business model profits from
 22   sexual videos and images featuring underage victims, Reddit rarely removes such
 23   content. What Reddit is actually doing is providing the window-dressing of content
 24   moderation to satisfy the general public that it is operating a safe platform while in
 25   practice shielding illegal content through non-enforcement of its policies. Again, the
 26   reason for this is to maximize traffic on its website and boost revenues.
 27
 28   31
           https://www.vice.com/en/article/7k9ka4/girls-do-porn-doxing-reddit-banned
                                                18
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  1                4.      Reddit Facilitates Solicitation of CSEM
  2         71.         There are a troubling number of subreddits where users have been
  3   found soliciting or offering CSEM images via links to external websites and storage
  4   folders, like Discord.
  5         72.         Offers to trade CSEM images or videos have been identified on the
  6   following subreddits alone:
  7                r/DiscordNudes/
  8                r/Loredana
  9                r/JerkOffToMySis
 10                r/sirtykikgroups
 11                r/dirtykikpals
 12                r/Strokebuds
 13                r/Wixbros
 14                r/Deutschetributes
 15                r/GermanTradesNSFW
 16                r/Pervs_wickr
 17                r/NicoleDobrikovHot/
 18
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  1         73.      For example, an image and note asking to trade “teen nudes” was
  2   posted to the r/Loredana subreddit by the user u/Asparagus-Straight.
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 13         74.      Similarly, the following notes were posted by user u/Careless-Rub
 14   2014 to the subreddit r/Loredana. The photo solicitations (in German) include young
 15   teens (jüngeren Teens), photos of a user’s sister (Schwester), and trading teens
 16   “taboo-free” (tabulos).
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  1         75.        As yet another example, the following messages were posted to the
  2   subreddit r/dirtykikgroups by the user u/Themainman9793:
  3
  4
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 12         76.        As yet another example, the following messages in German offered
 13   to trade photos of teens (teens tauschen) including “young teens”:
 14
 15
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 23
                  5.       Reddit Facilitates Non-Consensual Use of Minor Images as
 24
                           Fetishes
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            77.        In addition to solicitation of CSEM, there are a number of subreddits
 26
      where users have posted photos of minors without consent and then used or solicited
 27
 28
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  1   the use of photos for sexual purposes, like the creation of pornographic images and
  2   masturbation.
  3         78.       For example, the following post from subreddit r/NSFW_Tributes
  4   includes an offer to trade CSEM:
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 14         79.       This post, from the same subreddit, invites respondents to post their
 15   “tribute” photos to the Instagram account of the minor female who was originally
 16   pictured:
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  1            80.        This type of content has been identified in the following subreddits
  2   alone:
  3                   r/NSFW_Tributes
  4                   r/JerkOffToMySis
  5                   r/GermanTradesNSFW
  6                   r/Deutschetributes
  7                   r/CockTributes
  8                   r/cumtributes
  9                   r/Cum_Tribute_Hub
 10                  6.      There are Countless Instances of Subreddits that Target
 11                          Users Searching for CSEM
 12            81.        The extent of CSEM on Reddit is troubling. On public subreddits
 13   alone, there are countless instances of CSEM. The following 48 subreddits are
 14   merely some of the examples of subreddits that target users seeking CSEM:
 15                   /r/jailbait/5
 16                   /r/barelylegalteens
 17                   /r/LegalTeensGW
 18                   /r/18nsfw
 19                   /r/worldpolitics632
 20                   /r/18_Plus_NSFW/
 21                   /r/hentai_irl
 22                   /r/dirtysmall
 23                   /r/FauxBait
 24                   /r/petite
 25
 26   32
         According to various Reddit posts, more than a year ago the r/worldpolitics
 27   subreddit was “taken over” by users posting pornographic images, some of which
      included CSEM.
 28
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  1               /r/aa_cups/
  2               /r/smallboobs
  3               /r/downblouse/
  4               /r/TeenBeauties
  5               /r/petite/
  6               /r/2000sGirls
  7               /r/Teenpussyx/
  8               /r/TooCuteForPorn
  9               /r/InnocentlyNaughty/
 10               /r/GoneWildCD
 11               /r/talkedintoit/
 12               /r/adorableporn
 13               /r/funsized
 14               /r/xsmallgirls
 15               /r/Amateur
 16               /r/gonewild
 17               /r/PetiteGoneWild
 18               /r/Nsfw_Amateurs
 19               /r/LegalTeens
 20               /r/youngporn
 21               /r/Gonewild18
 22               /r/IndianTeens
 23               /r/18_19
 24               /r/YoungPrettyHoes
 25               /r/18nsfw
 26               /r/snapleaks
 27               /r/Upskirt
 28               /r/Nude1819
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  1                /r/TinyTits
  2                /r/Omeglesex/
  3                /r/DirtySnapchat
  4                /r/SnapchatSext
  5                /r/collegesluts
  6                /r/Photobucket
  7                /r/ratemynudebody
  8                /r/NSFWKikGroups
  9                /r/Creepshots
 10         82.      An image posted by u/ExiledLuucifer696969 to the subreddit
 11   r/JerkOffToMySis indicates that the photo is of a nude, pubescent female in the
 12   shower with her breasts visible. The photo appears to have been taken surreptitiously
 13   and includes an offer by the user to provide additional videos.
 14         83.      Similarly, an image posted by the user u/BearBang96 to the subreddit.
 15   r/WixBros includes the text “u18,”suggesting that the subject is under 18 years old.
 16         84.      There are also a number of comments regarding explicit photos
 17   demonstrating Reddit users’ awareness that the subjects are underage. The below
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  1   comments by user u/Remarkable-Industry4 suggest that he knows the female posted
  2   and that she is 15 years old.
  3
  4           85.      There are additional instances of CSEM on the subreddits
  5   r/Pervs_wickr and r/sTrokebuds.
  6           86.      These images are only a small sample of the content available on
  7   Reddit, and do not encompass the content on private subreddits, where CSEM is
  8   likely more prevalent.
  9           87.      In response to the proliferation of CSEM and other content in
 10   violation of Reddit’s rules, various subreddits have highlighted offensive content so
 11   that it can be removed:
 12               u/Solocro wrote: r/familyincest filled with cp33 looking at the person that
 13                 posted those vides shows that they have posted in different subs too
 14               u/worldbuilder3 wrote: r/nolimit cp
 15               u/Anongraffiti wrote: r/kittyashleeee about the 13 year old girl Well well
 16                 well looks like another one if this damn 13 year old keep popping up.
 17                 Although this one looks very very new You know what to do also. The
 18                 owner is u/ Thegoose0607 Another is u/ Status_Computer4519 definitely
 19                 a burner account Also in r/discordnudes a user by the name u/
 20                 wet_blanket304 was asking for nudes if Ms Ashley 13 days ago His
 21                 account doesn’t seem to be a burner.
 22               u/GrainGang wrote:       r/snapchatnudetraders Most recent post has a
 23                 degenerate [sic] asking for snaps of porn/lewd snaps of minors
 24               u/spidermon05 wrote: r/Cynnett2 posts CP and nudes of a minor she’s
 25                 17 and they have videos of her from when she was 14-15 on there too. i
 26                 know she’s underage because she lives in my city, everyone knows about
 27
      33
           “cp” is a common term for CSEM (“child pornography”).
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  1               how she has an OF as a minor. please report r/Cynnett2, it is CP without
  2               a doubt.
  3             u/Guuguuff22 wrote: r/gabriellaSaraivahNSFW contains nude images
  4               of a 16 years old
  5                7.       Reddit Has a History of Moderator Negligence and Abuse
  6         88.         Reddit’s internal security has been compromised by its choice to rely
  7   on unpaid moderators, which fail to enforce the standards that are supposed to protect
  8   Reddit users and others. In contrast to other technology and social media firms,
  9   which employ “armies” of paid moderators and contractors trained to sift through
 10   content for policy violations or illegal material, Reddit’s “crowdsourced” approach
 11   is understaffed to deal with the volume of content on the site. This is shocking given
 12   the substantial revenue and “valuation” attributed to Reddit, which was recently
 13   reported to be 6 billion.34
 14         89.         There are limited options for users to report poor moderation.
 15   Reddit’s online support site35 allows users to “submit a request” for assistance and
 16   includes “File a Moderator Complaint” in the drop-down menu. According to a
 17   Reddit administrator, “more than 99%” of these reports are not actionable.36
 18         90.         Numerous users have complained about Reddit administrator
 19   response times and effectiveness.37 The tools available to report poor moderation are
 20   not effective. Reddit administrators are frequently slow to respond to user reports
 21   and in many cases they fail to “actually enforce the health community rules.” The
 22   administrative team is understaffed, and moderators have noted their difficulty in
 23   34
         https://www.cnbc.com/2021/02/09/reddits-valuation-doubles-to-6-billion-after-
 24   new-250-million-funding-round-.html
      35
         https://reddit.zendesk.com/hc/en-us/requests/new
 25   36
         https://www.reddit.com/r/announcements/comments/gxas21/upcoming_changes_
 26   to_our_content_policy_our_board/ft08 mel/
      37
         https://old.reddit.com/r/ModSupport/comments/9h7w7u/reddithelpcom_now_has
 27   _a_moderator_complaint_form/
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  1   communicating with administrators about issues impacting their communities or their
  2   role.
  3           91.     One Reddit administrator noted that members of the team can be on
  4   different schedules, so “it’s a bit of back and forth waiting” to address issues being
  5   reviewed by multiple team members.38 The administrator also said “unfortunately
  6   sometimes tickets do get lost in the shuffle.”
  7           92.     Claims of moderator abuse are well documented in several subreddits,
  8   including r/modsbeingdicks, r/watchredditdie, and r/subredditcancer. Many of these
  9   posts identify seemingly arbitrary behavior by moderators that violate the Moderator
 10   Guidelines.
 11           93.     Reddit has a history of failing to take action until controversial
 12   content is reported in media sources. Several posts have indicated that Reddit will
 13   not remove problematic subreddits unless they gain media or celebrity attention, or
 14   if Reddit receive legal documentation. One post, dated June 14, 2018, contained a
 15   list of “problematic subreddits,’ several of which claim to feature “young looking”
 16   subjects in a sexualized context.39 This list was assembled with the intent of sending
 17   it to the media so it could gain enough attention to get Reddit to shut the subreddits
 18   down. As of April 1, 2021, all subreddits on that list are still active.
 19           94.     In many instances, moderators have claimed to remove CSEM
 20   content only to have Reddit respond that the content “doesn’t violate Reddit’s
 21   Content Policy.”40 Even when Reddit does agree with a moderator’s decision to flag
 22
      38
        https://www.reddit.com/r/ModSupport/comments/bzpka6/how_understaffed_are_
 23
      the_admins/er5j6xx/
 24   39
         The original post has been deleted, but it has been preserved as a comment at
 25   https://www.reddit.com/r/Drama/comments/8r7qfj/terfs_are_trying_to_ban_pornog
 26   raphy_off_of_reddit/eb444kx.
      40
 27     https://www.reddit.com/r/modhelp/comments/m5ltrb/reddit_ok_with_sexualizati
      on_of_minors/
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  1   content for sexualizing minors, there are claims that the posts in question remain
  2   online and accessible despite multiple reports and acknowledgement from Reddit
  3   stating they have investigated and “actioned” the content.41
  4         95.         There are also reports of users receiving only temporary bans from
  5   the site for posting content flagged as sexualizing a minor, and regaining full access
  6   to their account after a few days, in addition to posts being incorrectly flagged and
  7   actioned.42 Conversely, a user claimed that they reported an account posting what
  8   appeared to be underage content, and the account remained online.43
  9                8.       Reddit Has Admitted That Videos Featuring Underage
 10                         Persons Are Some of the Most Popular/Sought-After Content
 11                         on Reddit
 12         96.         The more controversial the subreddit, the more attention the subreddit
 13   receives. The more attention the subreddit receives, the more revenue it generates.
 14   Perhaps the best example is the /r/jailbait subreddit, which was removed in 2011 after
 15   Anderson Cooper of CNN devoted a segment of his program to condemning the
 16   subreddit and criticizing Reddit for hosting it. The “jailbait” subreddit was heralded
 17   in the Reddit community as the chosen “subreddit of the year” in the “Best of reddit”
 18   user poll in 2008 and at one point, jailbait was the second most common searched
 19   term on the site.44
 20         97.         Reddit’s general manager, Erik Martin, defended the subreddit by
 21   saying: “We’re a free speech site with very few exceptions (mostly personal info)
 22
 23   41
         https://www.reddit.com/r/modhelp/comments/kv54p7/what_to_do_about_a_brok
 24   en_cploli_reporting_system/
      42
         https://www.reddit.com/r/help/comments/kswyyo/why_arent_sexualization_of_m
 25
      inors_posts_deleted/
      43
 26      https://www.reddit.com/r/WatchRedditDie/comments/fwlwpd/had_my_account_
      permanently_suspended_for/
 27   44
         https://web.archive.org/web/20121012213707/http://gawker.com/5950981/unmas
      king-reddits-violentacrez-the-biggest-troll-on-the-web
 28
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                                                       COMPLAINT FOR VIOLATION OF FEDERAL SEX
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  1   and having to stomach occasional troll reddit like /r/picsofdeadkids or morally
  2   questionable reddits like /r/jailbait are part of the price of free speech on a site like
  3   this.”45
  4          98.      While Reddit’s executives may be content to have “morally
  5   questionable reddits”, the law prohibits it from knowingly profiting from sex
  6   trafficking, which is what Reddit is doing here.
  7          C.     Reddit Knows That Its Websites Are Known for Sex Trafficking
  8                 Activity
  9          99.      This is not a situation where Reddit can credibly claim ignorance.
 10   Reddit has itself admitted that it is aware of the presence of child pornography on its
 11   website.
 12          100.     In December 2018, Reddit employee Marta Gossage explained to
 13   Insider that, as part of her daily routine, after waking up early in her apartment on
 14   Manhattan’s Upper West Side, she’d spend an hour or more checking in on recently
 15   problematic subreddits, “such as whatever was bubbling up at the time in the
 16   Violentacrez universe, say, r/picsofdeadfailbait, his attempt to outfilth r/jailbait,
 17   which was now banned.”46 Another employee, Erik Martin, likewise explained that
 18   he was responsible for dealing with the more “grisly content” including “sexualized
 19   images of minors.”47
 20          101.     Beyond their own monitoring, there are various other ways in which
 21   Reddit has been made aware of the fact that its platform has become a go-to home
 22   for child pornography.
 23
 24
 25
 26
      45
         https://www.dailydot.com/society/reddit-beatingwomen-misogyny-images/
 27   46
         https://www.businessinsider.com/reddit-moderators-jobs-and-the-early-days-of-
      reddit-2018-10
 28   47
         Id.
                                               30
                                                     COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                          TRAFFICKING LAWS
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  1                1.       The Presence of Underage Pornography Is Obvious From
  2                         Language on Reddit’s Own Website
  3         102.        To start, Reddit need go no further than the language used on its own
  4   website.
  5         103.        For example, until Reddit came under pressure to take them down, it
  6   was home to such subreddits as:
  7                    /r/teen_girls
  8                    /r/TeenGirls
  9                    /r/pro_teen_models
 10                    /r/preteen_girls
 11                    /r/JailbaitArchives
 12                    /r/JailbaitVideos
 13                    /r/TrueJailbait
 14                    /r/niggerjailbait
 15                    /r/ChestyBait
 16                    /r/bustybait
 17                    /r/cutegirls
 18                    /r/asianjailbait
 19                    /r/JustTeens
 20                    /r/JailbaitJunkies
 21                    /r/jailbait_nospam
 22                    /r/jailbaitgw
 23                    /r/nudistbeach
 24                    /r/Purenudism
 25                    /r/teens
 26                    /r/Thenewjailbait
 27                    /r/trapbait
 28                    /r/malejailbait
                                                  31
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                                                                            TRAFFICKING LAWS
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  1
                       /r/malejailbaitarchives
  2
                       /r/lolicon
  3
                       /r/shotacon
  4
                       /r/assbait
  5
                       /r/preteen_boys
  6
                       /r/photobucketplunder
  7
                       /r/AngieVarona
  8
                       /r/picsofdeadjailbait48
  9
                   2.      Presence of Underage Pornography Brought to Reddit’s
 10
                           Attention Via Users
 11
            104.        Users of Reddit, not to mention child pornography victims and their
 12
      families, have also notified Reddit of the presence of child pornography on their
 13
      website.
 14
            105.        In 2012, a user explained: “I emailed an admit about a preteengirls
 15
      thread EXPLICITLY showing photos of child porn.” The Reddit administrator
 16
      responded “thanks” and “[n]othing was done, NOTHING, which is what I expected.49
 17
            106. Similarly, in the comments on the thread relating to Reddit’s site-wide
 18
      rules regarding sexualization of minors, many users commented on a number of
 19
      subreddits that featured child pornography, including one subreddit that featured a
 20
      fourteen-year-old that had existed for almost four years.
 21
            107. As yet further examples, a moderator, elis8, commented on how the
 22
      subreddit r/starlets “was a source of all my troubles for years and it’s still up even
 23
      though it’s literally created to sexualize minors.” And another user explained that
 24
      the subreddit “r/ratemeteen is basically a virtual pedophile ring.”
 25
 26
 27   48
         https://www.reddit.com/r/blog/comments/pmj7f/a_necessary_change_in_policy/
      49
          https://www.washingtonpost.com/news/the-intersect/wp/2014/09/03/does-reddit-
 28   still-have-a-child-porn-problem/
                                             32
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                                                                          TRAFFICKING LAWS
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  1         108. Finally, a September 2020 story in The U.S. Sun details how a Reddit
  2   user and moderator recently confessed—on Reddit—to being obsessed with child
  3   pornography. He had joined a subreddit known as PedoGate that apparently was
  4   about bringing justice to children, but after cops showed up at this user’s house,
  5   Reddit eventually took the subreddit down as it turned out to be promoting “sexually
  6   suggestive content involving minors.”50
  7                3.      Presence of Underage Pornography Brought to Reddit’s
  8                        Attention Via Third-Party Reporting
  9         109.        Media outlets have also placed Reddit on notice of the presence of
 10   child pornography its platform.
 11         110.        The mainstream media began covering Reddit’s child pornography
 12   problem back in October 2011, following Anderson Cooper’s detailed coverage of
 13   the darker side of the Reddit message boards. In particular, Mr. Cooper zeroed in on
 14   a subreddit known as Jailbait, which was at the time home to more than 20,000 users.
 15         111.        On October 12, 2014, Gawker published an article exposing the
 16   moderator of Jailbait, entitled “Unmasking Reddit’s Violentacrez, The Biggest Troll
 17   on the Web.” As reported by Gawker, the subreddit Jailbait was “dedicated to
 18   sexualized images of underage girls” and Violentacrex and his fellow moderators
 19   worked hard to make sure very girl on jailbait was underage, diligently deleting any
 20   photos whose subjects seemed older than 16 or 17.”51
 21         112.        On September 3, 2014, The Washington Post published an article
 22   reporting on the “Celebgate” spectacle, which included naked photos of Olympic
 23   gymnast McKayla Maroney—taken while she was underage—being posted on the
 24   subreddit /r/thefappening. As the article makes clear, while what happened to
 25   celebrities such as Ms. Maroney is terrible enough, at least they have publicists,
 26
      50
         https://www.the-sun.com/news/1503509/reddit-pedogate-banned-moderator-
 27   addicted-child-porn/
      51
         https://gawker.com/5950981/unmasking-reddits-violentacrez-the-biggest-troll-on-
 28   the-web
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                                                                         TRAFFICKING LAWS
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  1   lawyers, and legions of fans to bring pressure on Reddit to remove the specific
  2   content. By contrast, the article begs the question of what is being “to help other
  3   young women whose photos might end up in questionably tasteful forums like
  4   /r/randomsexiness or /r/youngporn, where youthful photos are frequent, provenances
  5   are unkown and subjects’ ages are rarely disclosed.” It goes on to conclude that
  6   “Reddit still hosts virtually every kind of fifth and depravity you can conceive of –
  7   and probably quite a bit that you can’t.” Including “rape porn”, “collections of dead
  8   children” and “many, many nude photogrpahs of women who appear to just at, if not
  9   under, the age of majority.”52
 10         113.     On April 28, 2020, BuzzFeed.News reported how a TikTok sensation
 11   found nude images that she had taken when was 17 on Reddit. The now-defunct
 12   subreddit created to share the images was the fastest growing subreddit on April 3 of
 13   that year, making it impossible for Reddit to have not known about it.53
 14         114.     On September 24, 2020, Rolling Stone published an article entitled:
 15   How TikTok Teens are Ending Up on Pornhub”, explaining that these underage
 16   images are finding their way onto not only traditional porn websites, but also
 17   Reddit.54
 18         115.     More recently, on December 4, 2020, New York Times opinion
 19   columnist Nicholas Kristof published a detailed piece entitled “The Children of
 20   Pornhub.” While the focus of the article was the presence of child pornography on
 21   various pornographic websites, Mr. Kristof explained: “Depictions of child abuse
 22   also appear on mainstream sites like Twitter, Reddit and Facebook.”55
 23
 24
      52
          https://www.washingtonpost.com/news/the-intersect/wp/2014/09/03/does-reddit-
 25   still-have-a-child-porn-problem/
      53
         https://www.buzzfeed.com/cameronwilson/tiktok-underage-nudes-leaked-
 26   harassment
      54
         https://www.rollingstone.com/culture/culture-news/tiktok-dance-pornhub-
 27   nonconsensual-porn-1064794/
      55
         https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape-
 28   trafficking.html
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                                                                        TRAFFICKING LAWS
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  1                   4.      Presence of Underage Pornography Brought to Reddit’s
  2                           Attention Via Advocacy Groups
  3            116.        Advocacy groups have devoted significant resources to bringing
  4   attention to the ubiquitous problem of child pornography on Reddit.
  5            117.        Most notably, since 2013, the National Center on Sexual Exploitation
  6   has published “The Dirty Dozen List”—an annual campaign calling out twelve
  7   mainstream entities for facilitating or profiting from sexual abuse and exploitation.
  8   In 2021, Reddit earned a spot on the list. As explained by the Center: “child sexual
  9   abuse material is also easily found on the site because Reddit refuses to institute
 10   strong polices and, despite being worth $6 billion, refuses to spend money on
 11   moderators and technology solutions to reduce sexual abuse and exploitation material
 12   surfacing on their site.”56
 13            118.        In sum, Reddit fully understands and markets itself as a gateway of
 14   the internet, and while discovery will reveal the full extent to which Reddit is aware
 15   of the existence of child pornography being trafficked through its own websites,
 16   there’s simply no question it is aware of the staggering flow of child pornography
 17   over the world wide web as a whole, and yet it did little to nothing to prevent it from
 18   its own websites.
 19   IV.      JANE DOE’S EXPERIENCE AS A VICTIM OF DEFENDANTS’ SEX
 20            TRAFFICKING
 21            119.        Jane Doe was in high school when her boyfriend created four videos
 22   of the two of them engaging in sexual intercourse. She was sixteen years old at the
 23   time the videos were recorded, and some of the videos were recorded without her
 24   knowledge let alone consent.
 25            120.        The relationship ended when Jane Doe’s boyfriend pushed her out of
 26   his moving car onto the street, dragging her until she was able to free herself.
 27
 28   56
           https://endsexualexploitation.org/reddit/
                                                   35
                                                        COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                             TRAFFICKING LAWS
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  1         121.     After the relationship ended, Jane Doe learned from a mutual friend
  2   that her ex-boyfriend had posted multiple videos and images online of the two of
  3   them engaging in sexual intercourse. Jane Doe is clearly identifiable in the videos
  4   and images, which were posted to various websites, including Reddit, from the period
  5   of December 2019 to the present.
  6         122.     The postings were accompanied by crude, disparaging, misogynistic
  7   and/or racist remarks. As just one example, some of the posts encouraged other
  8   Reddit users to film themselves jerking off to the images—which again were pictures
  9   of an underage Jane Doe taken without her knowledge let alone consent—and then
 10   post those videos to Reddit.
 11         123.     As soon as she became aware of the posts on Reddit, Jane Doe
 12   immediately reported them to the moderators on the individual subreddits. In many
 13   of her communications, she made clear that she was the woman in the videos, that
 14   she was underage at the time they were made, and that she had never consented to
 15   their production, let alone dissemination online. For these reasons, she asked that
 16   they be taken down immediately.
 17         124.     Even after she brought the matter to Reddit’s attention, Reddit would
 18   sometimes wait several days before taking down the content.
 19         125.     At some point, Jane Doe learned a trick. While she had started off by
 20   telling moderators that the content included child pornography, and that it was non-
 21   consensual, she noticed she got better responses when she added that there was a
 22   copyright issue. That is, Reddit’s moderators appeared to care more about and
 23   respond more quickly to a message flagging a possible copyright concern, than a
 24   message flagging non-consensual child pornography.
 25         126.     Worse yet, because Reddit has zero policy in place for preventing the
 26   posting of this type of content, even after it has been specifically flagged, whenever
 27   Reddit would finally agree to remove a post, Jane Doe’s ex-boyfriend would simply
 28   post anew, often to the exact same subreddit. And somehow it fell on Jane Doe, and
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                                                    COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                         TRAFFICKING LAWS
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  1   not the subreddit’s moderator—to find these new posts and once again fight to have
  2   them removed. When Jane Doe was finally successful in having her ex-boyfriend’s
  3   Reddit account banned, he simply made a new account and was once again free to
  4   post all the child pornography he liked.
  5          127.    Because Reddit refused to help, it fell to Jane Doe to monitor no less
  6    than thirty-six subreddits—that she knows of—which Reddit allowed her ex-
  7    boyfriend to repeatedly use to repeatedly post child pornography. This is despite the
  8    fact that, as Reddit well knew, throughout this time her ex-boyfriend uploaded the
  9    content from the identical IP address.
 10         128.     To be clear, Reddit’s refusal to act has meant that for the past several
 11   years Jane Doe has been forced to log on to Reddit and spend hours looking through
 12   some of its darkest and most disturbing subreddits so that she can locate the posts of
 13   her underage self and then fight with Reddit to have them removed. She does this
 14   often, and her effort continues to this day. Despite these incredible efforts, without
 15   Reddit’s assistance the situation is hopeless.
 16         129.     The circulation of the videos and images, and the effort she has had
 17   to undertake to both locate them and negotiate with Reddit to have them removed,
 18   has caused Ms. Doe great anxiety, distress and sleeplessness. She has had recurring
 19   thoughts of contemplating suicide and feelings of hopelessness, resulting in
 20   withdrawing from school and seeking therapy.
 21                           CLASS ACTION ALLEGATIONS
 22         130.     Plaintiff brings this action on her own behalf, and on behalf of a class
 23   pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure. The
 24   Class is defined as:
 25         all persons who were under the age of 18 when they appeared in a video
 26         or image that has been uploaded or otherwise made available for
 27         viewing on any website owned or operated by Reddit, Inc. in the last ten
 28         years.
                                                 37
                                                       COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                            TRAFFICKING LAWS
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  1          131.     Plaintiff also brings this action on behalf of:
  2          all persons residing in California who were under the age of 18 when
  3          they appeared in a video or image that has been uploaded or otherwise
  4          made available for viewing on any website owned or operated by
  5          Reddit, Inc. in the last ten years (the “California Subclass”).
  6          132.     The members of the Class are so numerous that joinder of all members
  7   is impracticable. While the exact number of Class members is unknown to Plaintiff
  8   at this time and can only be ascertained through appropriate discovery, Plaintiff
  9   believes that there are many thousand members of the Class. Absent members of the
 10   Class may be notified of the pendency of this action using a form of notice similar to
 11   that customarily used in purchaser class actions.
 12          133.     Plaintiff’s claims are typical of the claims of the members of the
 13   Class, as all members of the Class were similarly affected by Defendant’s wrongful
 14   common course of conduct complained of herein.
 15          134.     Plaintiff will fairly and adequately protect the interests of the
 16   members of the Class and has retained counsel competent and experienced in class
 17   action litigation.
 18          135.     Common questions of law and fact exist as to all members of the Class
 19   and predominate over any questions solely affecting individual members of the Class.
 20   Among the questions of law and fact common to the Class are:
 21                 (a)    Whether Defendant knowingly benefitted from child trafficking;
 22                 (b)    Whether user-generated uploads on Defendant’s websites feature
 23                        underage victims;
 24                 (c)    Whether Defendant knew or should have known that there were
 25                        videos and/or images of underage victims on its websites; and
 26                 (d)    Whether Defendant’s age verification system prevents users from
 27                        uploading child pornography.
 28                 (e)    Whether Defendant has earned profits from child trafficking;
                                               38
                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
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  1          136.     A class action is superior to all other available methods for the fair
  2   and efficient adjudication of this controversy, since joinder of all members is
  3   impracticable. The damages suffered by individual Class members may be relatively
  4   small, the expense and burden of individual litigation makes it virtually impossible
  5   as a practical matter for members of the Class to redress individually the wrongs done
  6   to them. There will be no difficulty in the management of this action as a class action.
  7                                 FIRST CLAIM FOR RELIEF
  8                    TRAFFICKING VICTIMS PROTECTION ACT
  9                                   18 U.S.C. §§ 1591, 1595
 10          137.     Plaintiff incorporates each and every allegation set forth above as if
 11   fully set forth herein.
 12          138.     Defendant knowingly used the instrumentalities of interstate
 13   commerce to violate 18 U.S.C. § 1595.
 14          139.     Defendant knowingly benefits from child trafficking by benefitting
 15   financially from videos/images viewable on their websites that depict victims who
 16   are underage. Defendant makes substantial profits with almost three billion ad
 17   impressions each day, many of which are attributable to content posted of underage
 18   victims.
 19          140.     Defendant knew or should have known that the videos and images
 20   featured on their websites depicted sex trafficking. Defendant has repeatedly been
 21   made aware of the child pornography on their websites by victim’s complaints, third-
 22   party reporting, advocacy groups, and government investigations. Defendant knew
 23   or should have known that their websites are known for child sex trafficking based
 24   on all of this information.
 25          141.     Defendant monetized child trafficking on their websites through
 26   revenues generated by subscriptions and advertisements.
 27
 28
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                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                           TRAFFICKING LAWS
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  1          142.     Rather than take action to combat the problem of child sex trafficking,
  2   Defendant intentionally catered their websites to facilitate sex trafficking and make
  3   it easier for traffickers to monetize underage victims in commercial sex acts.
  4          143.     Defendant not only maintained affiliations with sex traffickers by
  5   enabling the posting of child pornography on their websites, they have strengthened
  6   those affiliations by making it easier to connect traffickers with those who want to
  7   view child pornography.
  8          144.     Defendant has repeatedly featured victims who have not attained the
  9   age of 18 years in videos/images on its websites. The victims have engaged in
 10   commercial sex acts because all of the videos featured on its websites generate
 11   revenue for Defendant and/or traffickers and depict sex acts.
 12          145.     Defendant had a reasonable opportunity to observe the victims
 13   featured on its websites because their moderators had the opportunity to view all of
 14   the content posted thereon.
 15          146.     Defendant’s conduct has harmed the Class by causing physical,
 16   psychological, financial, and reputational harm.
 17                             SECOND CLAIM FOR RELIEF
 18                     VIOLATION OF DUTY TO REPORT CHILD
 19                             SEXUAL ABUSE MATERIAL
 20                                    18 U.S.C. § 2258A
 21          147.     Plaintiff incorporates each and every allegation set forth above as if
 22   fully set forth herein.
 23          148.     As an “electronic communication service provider,” Defendant’s
 24   websites are a “provider” under 18 U.S.C. § 2258E(6) and 2258A.
 25          149.     Defendant obtained actual knowledge that there was online sexual
 26   exploitation material of children being published on their websites, which was an
 27   apparent violation of 18 U.S.C. § 2252.
 28
                                                 40
                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
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  1          150.     Defendant knowingly engaged in intentional misconduct by ignoring
  2   clear notice of the presence of actual online sexual exploitation material of children.
  3   18 U.S.C. § 2258B(b)(1).
  4          151.     Defendant’s conduct constitutes a failure to act with reckless
  5   disregard to a substantial risk of causing physical injury without physical
  6   justification. 18 U.S.C. § 2258B(b)(2)(B).
  7          152.     Defendant’s conduct constitutes a failure to act for a purpose
  8   unrelated to the performance of any responsibility or function under 18 U.S.C. §§
  9   2258B(b)(2)(C).
 10          153.     Defendant’s conduct has seriously harmed the Class, including
 11   without limitation, physical, psychological, financial, and reputational harm.
 12                             THIRD CLAIM FOR RELIEF
 13          RECEIPT AND DISTRIBUTION OF CHILD PORNOGRAPHY
 14                                    18 U.S.C. § 2252A
 15          154.     Plaintiff incorporates each and every allegation set forth above as if
 16   fully set forth herein.
 17          155.     Defendant knowingly and intentionally offer, operate, maintain an
 18   advertise on their websites. Defendant also knowingly and intentionally encourage
 19   traffic on their websites and encourage advertisers to purchase advertisement space
 20   thereon.
 21          156.     Defendant knowingly received and distributed child pornography
 22   depicting Plaintiff and the Class on their websites.
 23          157.     Defendant’s receipt and distribution of child pornography occurred in
 24   or affected interstate or foreign commerce.
 25          158.     As a proximate result of Defendant’s violation of 18 U.S.C. § 2252A,
 26   Plaintiff and the Class have suffered serious harm including, without limitation,
 27   physical, psychological, financial, and reputational harm.
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                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                           TRAFFICKING LAWS
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  1          159.     Defendant’s conduct was malicious, oppressive, or in reckless
  2   disregard of Plaintiff’s rights and the Class’ rights and Plaintiff and the Class are
  3   entitled to injunctive relief, compensatory and punitive damages, and the costs of
  4   maintaining this action. 18 U.S.C. § 2252A(f).
  5          160.     Defendant’s liability for knowingly violating 18 U.S.C. § 2252A is
  6   not limited by 47 U.S.C. § 230 because nothing in Section 230 “shall be construed to
  7   impair the enforcement of [] chapter [ ] 110 (relating to sexual exploitation of
  8   children) [ ] or any other Federal criminal statute.” 47 U.S.C. § 230(e)(1).
  9                             FOURTH CLAIM FOR RELIEF
 10                 DISTRIBUTION OF PRIVATE SEXUALLY EXPLICIT
 11                       MATERIALS, CAL. CIV. CODE § 1708.85
 12                             (On behalf of California Subclass)
 13          161.     Plaintiff incorporates each and every allegation set forth above as if
 14   fully set forth herein.
 15          162.     Defendant intentionally distributed child pornography.
 16          163.     Plaintiff and the Class did not consent to the online distribution of the
 17   videos and images depicting them.
 18          164.     Defendant knew Plaintiff and the Class had a reasonable expectation
 19   that the videos depicting them would remain private.
 20          165.     The videos depicted on Defendant’s websites exposed intimate body
 21   parts of Plaintiff and the Class.
 22          166.     Plaintiff and the Class were harmed by Defendant’s knowing and
 23   intentional distribution of child pornography and Defendant’s conduct was a
 24   substantial factor in causing harm to Plaintiff and the Class.
 25
 26
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                                                 42
                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                           TRAFFICKING LAWS
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  1                                FIFTH CLAIM FOR RELIEF
  2    VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)
  3                                Cal. Bus. & Prof. Code § 17200
  4                              (On behalf of California Subclass)
  5            167.     Plaintiff incorporates each and every allegation set forth above as if
  6   fully set forth herein.
  7            168.     Defendant has violated the UCL by engaging in unlawful, unfair, and
  8   fraudulent business acts and practices.
  9            169.     Defendant knowingly had inadequate age verification systems in
 10   place that enabled users to upload child pornography to Defendant’s websites.
 11            170.     Defendant’s conduct constitutes an unlawful, unfair, and fraudulent
 12   business act and practice.
 13                                SIXTH CLAIM FOR RELIEF
 14                                  UNJUST ENRICHMENT
 15            171.     Plaintiff incorporates each and every allegation set forth above as if
 16   fully set forth herein.
 17            172.     Defendant profited off of videos and images depicting Plaintiff and
 18   the Class on Defendant’s websites.
 19            173.     By permitting users to upload videos and images of Plaintiff and the
 20   Class and profiting from those videos and images, Defendant have become unjustly
 21   enriched at the expense of Plaintiff and the Class in an amount to be determined at
 22   trial.
 23                                   PRAYER FOR RELIEF
 24            WHEREFORE, plaintiff prays for judgment, as follows:
 25            A.     Determine that this action is a proper class action under Rule 23 of the
 26   Federal Rules of Civil Procedure and appointing plaintiff’s counsel as Class counsel;
 27            B.     Award injunctive relief sufficient to bring Defendant’s policies in
 28   compliance with the TVPRA.
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                                                        COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                             TRAFFICKING LAWS
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  1         C.     Award compensatory and punitive damages in favor of Plaintiff and the
  2   Class against all Defendant, jointly and severally, for all damages sustained as a result
  3   of defendants’ violations of the law, in an amount to be proven at trial, including
  4   prejudgment interest thereon.
  5         D.     Award Plaintiff and the Class reasonable attorneys’ fees, costs and
  6   expenses incurred in this action, including expert fees.
  7         E.     Award such other and further relief as the Court may deem just and
  8   proper.
  9   Dated: April 22, 2021
                                             DAVIDA BROOK
 10                                          KRYSTA KAUBLE PACHMAN
                                             ARUN SUBRAMANIAN
 11                                          SUSMAN GODFREY L.L.P.
 12                                          STEVE COHEN
                                             (Pro Hac Vice forthcoming)
 13                                          scohen@pollockcohen.com
                                             POLLOCK COHEN LLP
 14                                          60 Broad Street, 24th Fl.
                                             New York, NY 10004
 15                                          Phone: (212) 337-5361
 16
 17                                          By /s/ Krysta Kauble Pachman
                                                     Krysta Kauble Pachman
 18                                           Attorneys for Plaintiff
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                                                       COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                            TRAFFICKING LAWS
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  1                                     JURY DEMAND
  2         Pursuant to Fed. R. Civ. P. 38(b), plaintiff demands trial by jury of all of the
  3   claims asserted in this complaint so triable.
  4   Dated: April 22, 2021                 DAVIDA BROOK
                                            KRYSTA KAUBLE PACHMAN
  5                                         ARUN SUBRAMANIAN
                                            SUSMAN GODFREY L.L.P.
  6
                                            STEVE COHEN
  7
                                            POLLOCK COHEN LLP
  8
  9                                         By /s/ Krysta Kauble Pachman
                                                    Krysta Kauble Pachman
 10                                          Attorneys for Plaintiff
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                                                      COMPLAINT FOR VIOLATION OF FEDERAL SEX
                                                                           TRAFFICKING LAWS
